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16 Counsel for Defendant Google LLC

17                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18

19   CHASOM BROWN, et al., on behalf of               Case No. 4:20-cv-03664-YGR-SVK
     themselves and all others similarly situated,
20                                                    DEFENDANT GOOGLE LLC’S NOTICE
            Plaintiffs,                               OF MOTION AND MOTION TO STAY
21
            v.
22                                                    Hon. Yvonne Gonzalez Rogers
     GOOGLE LLC,                                      Courtroom: 1 – 4th Floor
23                                                    Date: November 19, 2024
            Defendant.                                Time: 2:00 p.m.
24

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 1                              NOTICE OF MOTION AND MOTION

 2         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3         PLEASE TAKE NOTICE that, on November 19, 2024, at 2:00 p.m., before the Honorable

 4 Yvonne Gonzalez Rogers of the United States District Court for the Northern District of California

 5 at the Oakland Courthouse, Courtroom 1, 4th Floor, 1301 Clay Street, Oakland, CA 94612,

 6 Defendant Google LLC (“Google”) will and hereby does move the Court to stay (1) Plaintiffs’

 7 Motion for Final Approval of Class Action Settlement (Dkt. 1096), and (2) Plaintiffs’ Motion for

 8 an Award of Attorneys’ Fees, Costs, and Service Awards (Dkt. 1106), pending the Salcido

 9 Plaintiffs’ appeal of the Court’s August 12, 2024 order denying their Motion to Intervene and to

10 Continue the Final Approval Hearing (Dkt. 1130). Google’s Motion is based on this notice of motion

11 and supporting memorandum, the evidence cited therein, and such other written or oral argument as

12 may be presented at or before the time this Motion is taken under submission by the Court.

13                                      RELIEF REQUESTED

14         Google requests the Court defer its ruling on Plaintiffs’ Motion for Final Approval of Class

15 Action Settlement (Dkt. 1096) and Plaintiffs’ Motion for an Award of Attorneys’ Fees, Costs, and

16 Service Awards (Dkt. 1106) until the Ninth Circuit rules on the Salcido Plaintiffs’ appeal of the

17 Intervention Order.

18

19   DATED: September 25, 2024                Respectfully submitted,

20                                            QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
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                                               By            /s/ Andrew H. Schapiro
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 1       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION

 2 I.       INTRODUCTION

 3          The proposed Salcido intervenors have now noticed an appeal of this Court’s order denying

 4 their attempt to intervene and challenge the Settlement Agreement between the Brown Plaintiffs and

 5 Google. (Dkt. 1130). Among other things, the Salcido Plaintiffs contend the Settlement Agreement

 6 unfairly advantages the Brown Plaintiffs over class members in terms of the ability to pursue

 7 damages claims, and improperly relinquishes the right to pursue certification of a damages class.

 8 The Court correctly rejected these arguments, but because the appeal directly challenges approval

 9 of the Settlement Agreement—and by extension the Brown Plaintiffs’ fee application—it deprives

10 the Court of jurisdiction to rule on those motions (the “Approval Motions”). Accordingly, the Court

11 should stay the Motions pending resolution of the Salcido Plaintiffs’ appeal.

12 II.      BACKGROUND

13          On December 12, 2022, the Court denied the Brown Plaintiffs’ motion to certify damages

14 classes pursuant to Rule 23(b)(3) and certified two injunctive relief classes pursuant to Rule

15 23(b)(2). Dkt. 803 at 27-34. On March 11, 2024, the parties executed the Settlement Agreement

16 (Dkt. 1103-3).

17          The Brown Plaintiffs filed a Motion for Final Approval of Class Action Settlement on April

18 1, 2024. Dkt. 1096. On April 23, 2024, Brown Plaintiffs moved for an Award of Attorneys’ Fees,

19 Costs, and Service Awards (Dkt. 1106), pursuant to the Settlement (see id. at 1).

20          One month before the hearing on the Approval Motions, the Salcido Plaintiffs filed a Motion

21 to Intervene and to Continue the Final Approval Hearing. Dkt. 1116. Both Google and the Brown

22 Plaintiffs opposed the motion. Dkts. 1118; 1119.

23          On August 7, 2024, the Court heard oral argument on the Approval Motions and the Motion

24 to Intervene. On August 12, 2024, the Court denied the Salcido Plaintiffs’ Motion to Intervene (the

25 “Intervention Order”). Dkt. 1130. The Court has not yet issued an order on the Approval Motions.

26          On September 3, 2024, the Salcido Plaintiffs filed a Motion for Leave to File a Motion for
27 Reconsideration of the Intervention Order. Dkt. 1133. On September 18, 2024, the Court denied that

28 motion. Dkt. 1142.

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 1          On September 10, 2024, the Salcido Plaintiffs filed a Notice of Appeal of the Intervention

 2 Order, while their reconsideration motion was pending. Dkt. 1134. Their appeal is currently

 3 docketed before the Ninth Circuit. Case No. 24-5692 (the “Appeal”).

 4 III.     LEGAL STANDARD

 5          “The filing of a notice of appeal is an event of jurisdictional significance—it confers

 6 jurisdiction on the court of appeals and divests the district court of its control over those aspects of

 7 the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982);

 8 see also City of Los Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 886 (9th Cir.

 9 2001) (“[T]he filing of a notice of interlocutory appeal divests the district court of jurisdiction over

10 the particular issues involved in that appeal.”). “[T]he background Griggs principle [] requires an

11 automatic stay of district court proceedings that relate to any aspect of the case involved in the

12 appeal.” Coinbase, Inc. v. Bielski, 599 U.S. 736, 744 (2023). Therefore, once an interlocutory appeal

13 is filed, the district court only has jurisdiction to “address aspects of the case that are not the subject

14 of the appeal.” United States v. Pitner, 307 F.3d 1178, 1183 n.5 (9th Cir. 2002). Moreover, where

15 “[t]he issues on appeal are intertwined with the merits of the[] case and the result of the appeal could

16 permanently affect the rights of the parties,” courts do not have jurisdiction “to rule on issues that

17 will certainly be raised in the next phase of [] litigation.” SolarCity Corp. v. Salt River Project Agric.

18 Improvement & Power Dist., 2016 WL 5109887, at *2 (D. Ariz. Sept. 20, 2016); Harris v.

19 Muhammad, No. 21-CV-00283, 2024 WL 3872912, at *1 (N.D. Cal. Aug. 19, 2024) (“Plaintiff’s

20 interlocutory appeal concerns the merits of this case and therefore divests this court of jurisdiction

21 over the case while the appeal is pending.”).

22 IV.      ARGUMENT

23          A.      The Court Lacks Jurisdiction to Rule on the Approval Motions While the
                    Appeal is Pending
24
            The Salcido Plaintiffs moved to intervene on the basis that the Settlement Agreement is
25
     unfair to absent class members and that they purportedly cannot rely on class counsel to protect their
26
     interests. They contend, for example, that “the named class representatives[] have approved a
27
     settlement agreement that treats [absent class members] different from themselves” insofar as
28

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 1 “Plaintiffs enjoy favorable treatment, such that they can simply submit their damages claims to

 2 binding arbitration without filing a separate state action or otherwise proving liability.” Dkt. 1116

 3 at 10-11. They further argue that, in the Settlement Agreement, the named plaintiffs improperly

 4 relinquished the right to appeal the Court’s order denying certification of a Rule 23(b)(3) damages

 5 class. Id. at 13; Dkt. 1121 at 1 (“The settlement agreement will extinguish the right to appeal the

 6 denial of the damages class in exchange for an arbitration procedure for the class members that have

 7 separately worked out an agreement with class counsel.”), see also Case No. 24-5692, Dkt. 3.1

 8 (Salcido Plaintiffs’ Ninth Circuit Mediation Questionnaire) at 2. In the Intervention Order now on

 9 appeal, the Court correctly found that these arguments are meritless. Dkt. 1130. But because the

10 Appeal directly challenges the Settlement Agreement, it deprives the Court of jurisdiction to rule on

11 Plaintiffs’ Motion for Final Approval of Class Action Settlement (Dkt. 1096) while the Appeal is

12 pending. See, e.g., Maine v. Norton, 148 F. Supp. 2d 81, 82–83 (D. Me. 2001) (holding that court

13 had no jurisdiction to proceed with the case while proposed intervenors were appealing the denial

14 of their motion to intervene). Further, because Plaintiffs’ Motion for an Award of Attorneys’ Fees,

15 Costs, and Service Awards (Dkt. 1106) is premised on the Court’s approval of the Settlement

16 Agreement, the Court should not rule on that motion either. See Peck v. Cnty. of Orange, 528 F.

17 Supp. 3d 1100, 1104–05 (C.D. Cal. 2021) (“[E]ven if the Court has determined it retains jurisdiction

18 over certain aspects of the case, a stay pending appeal may nevertheless be warranted.”); see also

19 May v. Sheahan, 226 F.3d 876, 880 n.2 (7th Cir. 2000) (Even where the “district court has authority

20 to proceed forward with portions of the case not related to the claims on appeal…[it] might find it

21 best to stay an entire case pending the resolution of an appeal.”).

22          Indeed, it would make little sense to rule on the Approval Motions while the Appeal is

23 pending. If the Salcido Plaintiffs succeed in their Appeal, material provisions of the Settlement

24 Agreement may change or be frustrated. The Court should not approve a Settlement Agreement that

25 is potentially in flux. Instead, the Court should stay the Approval Motions until the Appeal is

26 resolved.
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 1 V.       CONCLUSION

 2          For the foregoing reasons, the Court should grant this Motion and stay proceedings until the

 3 Ninth Circuit rules on the Salcido Plaintiff’s appeal of the Intervention Order.

 4    DATED: September 25, 2024                Respectfully submitted,

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